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UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

 

ANTONIO MENDOZA, No. CV 19-106-JLS
Petitioner, RESPONDENT’ S MOTION TO DISMISS
ae PETITION FOR WRIT OF HABEAS CORPUS
now, PURSUANT TO 28 U.S.C. § 2241

 

FRANCISCO J. QUINTANA, Warden,

Respondent.

 

 

 

 

Respondent FRANCISCO J. QUINTANA, Warden, by and through his
counsel of record, the United States Attorney for the Central
District of California and Assistant United States Attorney Kevin J.
Butler, hereby moves for an order dismissing petitioner ANTONIO
MENDOZA’s petition for writ of habeas corpus pursuant to 28
U.S.C. § 2241, or, alternatively, transferring the petition to the
U.S. Court of Appeals for the Seventh Circuit. This Motion is based

on the attached Memorandum of Points and Authorities, the files and

 

 
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records in this case, and such further evidence and argument as the

Court may permit.

Dated: February 20, 2019

Respectfully submitted,

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MEMORANDUM OF POINTS AND AUTHORITIES

I. INTRODUCTION

On January 17, 2019, Antonio Mendoza (“petitioner”), filed a
Petition for Writ of Habeas Corpus under 28 U.S.C. § 2241,
challenging his underlying sentence on the ground that it was
wrongfully enhanced under 21 U.S.C. § 851 due to prior felony drug
offenses. (See CV 1 (“Pet.”) at 1.)1 Although framed as a § 2241
petition, the petition is actually a disguised, successive § 2255
motion that this Court lacks jurisdiction to consider. The Court
should accordingly dismiss the petition, or transfer it in the
interest of justice to the U.S. Court of Appeals for the Seventh
Circuit, which has exclusive jurisdiction to determine whether
petitioner may pursue the claims at issue here.
II. PETITIONER’S BACKGROUND

A. Jury Trial and Direct Appeal

On July 2, 2008, following a three-day jury trial in the
Southern District of Indiana, petitioner was convicted of conspiracy
to distribute more than 500 grams methamphetamine in violation of 18
U.S.C. §§ 846, 841(a) (1). (See CR 1.) Prior to that verdict, the
government had filed an information on May 30, 2008, pursuant to 18
U.S.C. § 851 ("851 Information”), stating that it intended to rely on
petitioner’s prior drug convictions for conspiracy to deliver heroin,
in violation of Washington state law, Wash. Rev. Code § 69.50.401,
and possession or purchase for sale of a narcotic controlled

substance, Cal. Health & Safety Code § 11351. (CR 1 at 5.) On

 

1 “oy” refers to the district court docket in the civil 28
U.S.C. § 2241 proceeding, Case No. 19-CV-00106. “CR” refers to the
district court docket in petitioner’s underlying criminal case, Case
No. 04-CR-00155, in the Southern District of Indiana.

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September 23, 2008, petitioner was sentenced to a term of life
imprisonment on each count, to be followed by ten years of supervised
release on each count, to run concurrent. (CR 1 at 6.) The life
sentence was mandated by the amount of drugs involved in each count
and petitioner’s two prior convictions for felony drug offenses. See

United States v. Mendoza, 346 F. App’x 112, 115 (7th Cir. 2009).

 

Petitioner timely appealed to the Seventh Circuit. (CR 1 at 6.)
However, petitioner's appellate attorney filed a brief under Anders

v. California, 386 U.S. 738 (1967), stating that counsel found no

meritorious issues to assert and could not identify any nonfrivolous

arguments to pursue. The Seventh Circuit granted petitioner’s
counsel’s motion but nonetheless “scrutinized the record searching
for errors in the jury selection and sentencing proceedings but
uncovered no potential defects,” and similarly parsed every
conceivable appellate argument, to no avail. See Mendoza, 346 F.
App’x at 116. Thus, the court dismissed petitioner’s appeal as
frivolous. Id.

During the same time period, defendant was also charged and

pleaded guilty to illegal reentry into the United States after being
deported for an aggravated felony, in violation of 8 U.S.C.
§ 1326(a), in the Southern District of Indiana. See United States v.
Mendoza, No. 08-CR-00104, Dkt. No. 52 (S.D. Indiana July 21, 2008).
As part of that plea agreement, petitioner stipulated that he was
deported after a drug trafficking offense for which the sentence
imposed exceeded 13 months, pursuant to § 241.2(b) (1) (A). Id.

B. Petitioner’s First § 2255 Motion

Following the direct appeal, petitioner proceeded to file a

litany of post-conviction motions. On January 3, 2011, petitioner

 

 
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filed his first motion under 28 U.S.C. § 2255 to vacate, set aside,
or correct his sentence, arguing ineffective assistance of counsel
stemming from various continuances of petitioner’s trial setting,
defense counsel’s advisement that petitioner should not testify in
his own defense, defense counsel failing to call additional
witnesses, and that defense counsel’s purported failure to
investigate petitioner’s prior convictions for purposes of

challenging them at sentencing. See Mendoza v. United States, No.

 

11-CV-00018, Dkt. No. 1 (S.D Indiana January 3, 2011). The district
court denied petitioner’s § 2255 motion, denied his request for an
evidentiary hearing on his § 2255 motion, and denied a certificate of
appealability. Id. at Dkt. No 8. petitioner appealed to the Seventh
Circuit, which found no showing of the denial of a constitutional

right and denied his request for a certificate of appealability. Id.

at Dkt. No. 20;'Mendoza v. United States, No. 13-2769; Dkt. No. 14

 

(7th Cir. Dec. 19, 2013).

Cc. Petitioner’s Second § 2255 Motion

Thereafter, on March 13, 2014, petitioner filed a motion for
reconsideration regarding his first § 2255 motion which the district
court treated as a new claim, prompting the opening of a new § 2255
civil action. Mendoza, No. 11-CV-00018, Dkt. Nos. 21-22. The
district court then dismissed the second § 2255 civil action for lack
of jurisdiction as a second or second successive challenge to his

conviction. Mendoza v. United States, No. 14-CV-0701, Dkt. No. 3

 

($.D. Indiana May 9, 2014). Petitioner appealed the order denying
his motion for reconsideration -- in which the court treated it as a
§ 2255 motion -- and the Seventh Circuit dismissed the appeal for

failure to pay the required fees. Mendoza, No. 11-CV-00018, Dkt. No.

 

 
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29; Mendoza v. United States, No. 14-2143, Dkt. No. 3 (7th Cir. July

 

30, 2014).

D. Petitioner’s Motion for Sentence Reduction

During the pendency of his second § 2255 motion and appeal,
petitioner filed -- in his original criminal matter -- a “request for
a modification/reduction of an imposed term of imprisonment,”
purportedly under 18 U.S.C. § 3582(c) (2) and U.S.S.G. § 1B1.10. (CR
2.) In hig motion, he acknowledged that he had two prior “controlled
substance” convictions -- one for selling 12 grams of heroin and one
for selling 6 grams of heroin. (CR 2,) The district court summarily
denied petitioner’s request. (CR 28.)

E. Petitioner’s Third § 2255 Motion

On July 23, 2015, petitioner filed another “motion seeking
relief i.e. re-open Rule 60(b) (1) thru 60(b) (6)-motion to re-open
and/or reconsider: rule 60(b),” again presenting claims‘of ineffective
assistance of counsel. Mendoza, No. 11-CV-00018 at Dkt. No. 30. In
sum, petitioner sought to reopen his initial § 2255 action -- which
the district court denied for lack of jurisdiction -- and petitioner
sought appeal. Id. at Dkt Nos. 32, 33, 37, 39. The Seventh Circuit

found both decisions correct and denied petitioner a certificate of

appealability in both appeals. Id. at 39; Mendoza v. United States,

 

No. 15-2964, Dkt. No. 14 (7th Cir. March 21, 2016).
The motions continued as petitioner again appealed and sought a

stay in the case until the Supreme Court decided Johnson v. United

 

States, 135 S. Ct. 2251 (2015). Mendoza, 11-CV-00018 at Dkt. No. 45.
The district court denied the request for a stay and denied any
requested authorization for a successive § 2255 motion. Id. at Dkt.

No. 46.

 

 

 
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F. Petitioner’s Instant Petition under § 2241
Petitioner filed the instant petition on January 17, 2019,
challenging his underlying sentence on the ground that his sentence
was wrongfully enhanced under 18 U.S.C. § 851 given that his prior
state convictions in Washington and California purportedly do not
constitute felony drug offenses. (CV 1.) In sum, petitioner appears
to argue that § 851 -- which applies to crimes punishable by
imprisonment more than one year -- does not apply because he was not
actually sentenced for terms of imprisonment over one year. (Pet. at
16.) Petitioner is currently incarcerated in the Central District of
California, at the Federal Correctional Institution in Victorville
California.
rrr. ARGUMENT
A. Although Styled Under § 2241, the Petition Is a Disguised
Successive § 2255 Motion That Must First Be Authorized by
the U.S:> Court of Appeals for the Seventh Circuit

Federal courts have “an independent obligation to examine their

 

own jurisdiction,” and a court “may not entertain an action over
which it has no jurisdiction.” Hernandez v. Campbell, 204 F.3d 861,
865 (9th Cir. 2000). “[I]n order to determine whether jurisdiction

is proper, a court must first determine whether a habeas petition is
filed pursuant to § 2241 or § 2255 before proceeding to any other
issue.” Id. And where, as here, a habeas petitioner’s sentencing
and custodial courts are in different districts, determining which
district is vested with jurisdiction over the petition turns on
whether it is cognizable under § 2241 or § 2255. Id. Section 2241
petitions “must be heard in the custodial court,” here, the Central
District of California. Id. Section 2255 petitions, by contrast,

“must be heard in the sentencing court,” here, the Southern District

 

 

 
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of Indiana. Id.; see also Hernandez v. Campbell, 204 F.3d 861, 864

 

(9th Cir. 2000) (“[P]etitions that challenge the manner, location, or
conditions of a sentence’s execution must be brought pursuant to
§ 2241 in the custodial court.”).

Here, although styled under § 2241, the petition is really a
successive motion to vacate, set aside, or correct petitioner's
sentence under § 2255. As a general matter, when a habeas petitioner
challenges the legality of his sentence, and not the manner,
location, or conditions of his confinement, his petition must be
brought under § 2255 and is not cognizable under § 2241. Compare

Harrison v. Ollison, 519 F.3d 952, 954 (9th Cir. 2008) (“A federal

 

prisoner challenging the legality of a sentence must generally do so

by a motion pursuant to 28 U.S.C. 8 2255."), and Lorentsen v. Hood,

 

223 F.3d 950, 953 (9th Cir. 2000) (“In general, § 2255 provides the

exclusive procedural mechanism by which a federal prisoner may test

the legality of detention.”), with Hernandez, 204 F.3d at 864.
Petitioner contends that the Fourth Circuit’s decision in United

States v. Simmons, 649 F.3d 237 (4th Cir. 2011), renders his § 851

 

enhancement “null and void” and “no longer qualify him as a career
offender.” (Pet. at 2.) Ignoring the fact that petitioner’s
argument is facially invalid, see infra Section III.D, the position
does not challenge the manner, location, or conditions of
petitioner’s confinement. Rather, it attacks the legality of his
sentence, and thus fall within the exclusive domain of § 2255. See
Lorentsen, 223 F.3d at 953; Porter v. Adams, 244 F.3d 1006, 1007 (9th
Cir. 2001) (“Merely labeling a section 2255 motion as a section 2241

petition does not overcome the bar against successive section 2255

 

 

 
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motions.”). This Court should accordingly construe the petition as a
successive § 2255 motion.

Construing the petition as a § 2255, it must be dismissed
because it is time-barred, successive, and cannot be heard by his
sentencing court absent an order from the appropriate court of
appeals, here, the Seventh Circuit, authorizing the district court to

consider the motion. See United States v. Washington, 653 F.3d 1057,

 

1065 (9th Cir. 2011)). Moreover, petitioner cannot obtain such an
order as he has not shown that his claims either depend on newly
discovered evidence that, if proven and viewed in light of the
evidence as a whole, would be sufficient to establish by clear and
convincing evidence that no reasonable factfinder would have found
him guilty of the offense, § 2255(h) (1), or rely upon a new rule of
constitutional law, made retroactive to cases on collateral review by
the Supreme Court, that was previously unavailable. Ids

For its part, this Court can neither grant nor deny the relief
sought in the petition, as the Seventh Circuit has exclusive
jurisdiction as to whether petitioner should be permitted to file a
successive § 2255 motion, and where such a motion, even if authorized
by the Seventh Circuit, could only be brought in the Southern
District of Indiana. See Hernandez, 204 F.3d at 865; Harrison, 519
F.3d at 957. Without jurisdiction, this court should dismiss the
petition.

B. The Grounds Raised in the Petition Do Not Fall within the
Savings Clause of § 2255

Petitioner claims to argue that his motion is properly brought
under § 2241 because it is based on a retroactively applicable

Supreme Court decision which establishes that the petitioner may have

 

 

 

 
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been convicted of a nonexistent offense that was foreclosed by
circuit law at the time when it should have been raised, and that he
“asserts factual innocence of his sentence enhancement.” (Pet. at 8,
10.) As to law, petitioner cites to no Supreme Court decision.
Instead, petitioner does not assert factual innocence of his
conviction, or even those underlying convictions, but attacks the
legal validity of his sentence. Under the “savings clause,” or
“escape hatch,” of § 2255, a prisoner may challenge his sentence
under § 2241, but only where his remedy under § 2255 is “inadequate
or ineffective to test the legality of his detention.” Stephens v.
Herrera, 464 F.3d 895, 897 (9th Cir. 2006); Hernandez, 204 F.3d at
864-65; 28 U.S.C. § 2255(e). Jurisdiction over a challenge brought
under this “savings clause” lies with the custodial court. See
Hernandez, 204 F.3d at 865. But the savings clause is narrow in
scope and does not apply to cases, like petitioner’s, where relief is
foreclosed “merely because § 2255’s gatekeeping provisions prevent
the petitioner from filing a second or successive petition.” Ivy v.
Pontesso, 328 F.3d 1057, 1059 (9th Cir. 2003). What is more, a

“§ 2241 petition is available under the ‘escape hatch’ of § 2255”
only “when a petitioner (1) makes a claim of actual innocence, and
(2) has not had an ‘unobstructed procedural shot’ at presenting that

claim.” Stephens, 464 F.3d at 898; see also Lorentsen, 223 F.3d at

 

954 (*“[A] federal prisoner who is ‘actually innocent’ of the crime of
conviction, but who never has had ‘an unobstructed procedural shot’
at presenting a claim of innocence, may resort to § 2241 1£ the
possibility of relief under § 2255 is foreclosed.”). Here,

petitioner does not argue actual innocence or unobstructed shot and

 

 

 

 
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thus fails to meet either requirement to trigger § 2255's savings
clause.
1. Petitioner Has Had an Unobstructed Procedural Shot

Petitioner claims his felony convictions for conspiracy to
deliver heroin and possession or purchase for sale of a narcotic
controlled substance were wrongly used to enhance his sentence under
§ 851, apparently after Simmons. (Pet. at 10.) Nothing prevented
petitioner from advancing these arguments in his initial § 2255
petition.

At the outset, Simmons is not controlling law and would not
grant petitioner relief in any event. It is unclear how the opinion
would factually apply to petitioner’s various assertions, or how a
Fourth Circuit cage could announce a constitutional rule of any kind
pertaining to petitioner’s conviction and sentence in Indiana, much
less retroactively. ~fIn deciding whether a petitioner had-an
unobstructed procedural shot to pursue his claim, a court asks: “‘(1)
whether the legal basis for Petitioner’s claim did not arise until
after he had exhausted his direct appeal and first § 2255 motion; and
(2) whether the law changed in any way relevant to petitioner's claim
after the first § 2255 motion.’” Harrison, 519 F.3d at 960 (quoting
Ivy v. Pontesso, 328 F.3d 1057, 1061 (9th Cir. 2003)). Any such
change must apply retroactively. Id.

Here, petitioner cites to no recent legal development or change
in law that would have prevented him from raising his claims in his
prior appeal or § 2255 motion. Instead, the petition makes clear
that it is merely an attempt to revive prior arguments or slight
modifications to arguments that have been or court have been

previously raised. See Lawrence, 662 F.3d at 555, n.4. The

 

 

 
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purported legal basis for petitioner’s claim arose well before he had
exhausted his direct appeal or filed his first § 2255 motion. It was
decided in 2011, when petitioner began his proliferate journey
collaterally attacking his conviction and sentence. And again,
Simmons did not announce a new rule and has not been applied
retroactively and could not apply to petitioner whatsoever.
Petitioner’s memorandum of law lacks any instruction or argument
which would explain how or why Simmons would apply to his case and
thus cannot be the basis for a proper § 2255 motion. Indeed, Simmons
involved the hypothetical enhancement of a prior state drug
conviction to set a maximum term of imprisonment. 649 F.3d at 240.
No such hypothetical enhancement is alleged or was applied here.
Petitioner accordingly has not been deprived of an unobstructed

procedural shot to raise whatever Simmons or Brown-based claim he
purportedly had, and his § 2241 petition thus does not qualbfy for
“escape hatch” treatment. What is more, if Simmons or Brown did
announce a new rule of law, which the Supreme Court later adopted,
and which could someday be made retroactive to § 851 cases by the
Supreme Court, petitioner would then have an adequate and effective
remedy, i.e., an unobstructed procedural shot, to bring what would
then be a newly cognizable due process claim under 28 U.S.C.
§ 2255 (h) (2).

2. Petitioner's Collateral Attack on His Sentencing

Enhancement under 21 U.S.C. § 851 Does Not Constitute
a Claim of Actual Innocence

 

 

Even if petitioner had been deprived of an unobstructed
procedural shot to present his claims, he may not avail himself of
§ 2255’s savings clause without also establishing his actual

innocence as to hig crime of conviction. Stephens, 464 F.3d at 898;

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Lorentsen, 223 F.3d at 954. To “‘establish actual innocence, [a]
petitioner must demonstrate that, in light of all the evidence, it is

more likely than not that no reasonable juror would have convicted

 

him.’” Lorentsen, 223 F.3d at 954 (quoting Bousley v. United States,
523 U.S. 614, 623 (1998)). Crucially, “‘actual innocence’ means

factual innocence, not mere legal insufficiency.” Bousley, 523 U.S.
at 623-24 (citation omitted). And petitioner bears the sole “burden

of proof on this issue by a preponderance of the evidence[:] he must
show not just that the evidence against him was weak, but that it was
so weak that ‘no reasonable juror’ would have convicted him.”
Lorentsen, 223 F.3d at 954 (citation omitted).

Petitioner does not argue that he is factually innocent of the
crime he committed. Instead, he passingly asserts his “factual
innocence of his sentence enhancement.” (Pet. at 10.) “{AJ
petitioner generally cannot assert a cognizable claim of actual
innocence of a noncapital sentencing enhancement.” Marrero v. Ives,
682 F.3d 1190, 1193 (9th Cir. 2012) (collecting cases). And
petitioner’s contention here that his sentence was wrongly enhanced
under 21 U.S.C. § 851 is a “purely legal argument,” which “is not
cognizable as a claim of actual innocence under the escape hatch.”
Id. at 1195.

Petitioner does cite to one case within this Circuit -- United
States v. Brown, 879 F.3d 1043 (9th Cir. 2018) -- which held that a
defendant’s previous conviction for drug conspiracy under Washington
state law covered conduct broader than federal law and therefore
could not be used to enhance defendant’s sentence under § 851. Were
the court even able to consider this argument, it too fails. The law

at issue in Brown, RCW § 9A.28.040(f), which allowed for a conspiracy

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conviction when the other party to a conspiracy is a law enforcement
officer, was not in place when petitioner was convicted of his state
offense. Indeed, it was passed in 1997. Defendant, on the other
hand, was convicted in 1994, under a different section -- 69.50.4011.
See Brown, 879 F.3d at 1049.

To the degree there are any possible exceptions to the general
rule that a petitioner cannot be actually innocent of a noncapital
sentence under the escape hatch,” Marrero, 682 F.3d at 1194, none
of those hypothetical exceptions applies here. First, petitioner
does not contend he is “factually innocent of the crime that served
as the predicate conviction for [his] enhancement” under 21 U.S.C.

§ 851, i.e., third-degree felony possession with intent to distribute
marijuana. See id. Second, petitioner cannot establish that “he
received a sentence for which he was statutorily ineligible,” where
his life sentences (see~CR 1) is within the statutory maximum>of life
in prison for his crime of conviction, conspiracy to distribute 500
grams or more of a mixture or substance containing a detectable
amount of methamphetamine, under 18 U.S.C. §§ 846, 841(a) (1),

(b) (1) (A) (viii). See Marrero, 682 F.3d at 1194. Third, and finally,
petitioner has not established that his “sentence resulted from a
constitutional violation” where, as stated above, petitioner cites no
applicable law or any Supreme Court precedent that would apply to
petitioner’s collateral attack on his 851 Information and the
resulting enhancement. Under any applicable procedures, the actual
innocence requirement has not been satisfied here. This Court

accordingly lacks jurisdiction over the petition.

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Cc. The Court Should Dismiss the Petition for Lack of
Jurisdiction, or Transfer the Petition in the Interest of
Justice to the Seventh U.S. Circuit Court of Appeals
Where the petition: (1) challenges the legality of petitioner's
gentence rather than the conditions of his confinement; (2) does not
fall within the “savings clause” of § 2255; and (3) is a successive
§ 2255 motion, jurisdiction here lies exclusively with the Seventh
Circuit, which must determine whether petitioner will even be
permitted to pursue his claims. See Hernandez, 204 F.3d at 865;
Harrison, 519 F.3d at 957; Nelson, 465 F.3d at 1148. This, alone,
would justify this Court’s dismissal of the petition for lack of
jurisdiction. But “[t]he federal transfer statute,” 28 U.S.C.

§ 1631, “is applicable in habeas proceedings” such as this. Cruz-

Aguilera v. I.N.S., 245 F.3d 1070, 1074 (9th Cir. 2001). And where a

 

district court finds that jurisdiction is lacking, it may transfer
the action to any other ‘court in which the action could have -been
brought, if such a transfer is in the interests of justice.

Harrison, 519 F.3d at 957 (“[T]he custodial court deemed Harrison’s
petition to be a motion under § 2255. Because jurisdiction over such
a motion would lie only in the sentencing court, the custodial court
transferred the case to the sentencing court.”).

Here, the Court should dismiss rather than transfer because the
petition on its face is without merit and is merely petitioner’s
latest improper attempt to attack the validity of his sentence.
Accordingly, transfer would be futile and is not in the interest of

justice. See Cruz-Aguilera, 245 F.3d at 1074 (9th Cir. 2001) (a

 

matter should be transferred if (1) the transferring court lacks

jurisdiction; (2) the transferee court could have exercised

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jurisdiction at the time the action was filed; and (3) the transfer
is in the interest of justice.).

D. In Addition to the Procedural and Jurisdictional Defects,
Petitioner’s Claim Fails on the Merits

Were the Court to excuse the defects present, his argument is

facially devoid of merit. In essence, petitioner argues that the 851
enhancement -- which applies to felony drug cases punishable by more
than one year imprisonment -- cannot be applied to his underlying

state offenses because he served less than one year in prison.
Putting aside that Simmons does not apply nor support that
proposition, petitioner does not argue that the crimes were
punishable by less than one year in prison -- which they are not.

See United States v. Crawford, 520 F.3d 1072, 1080 (9th Cir. 2008)

 

(finding that violations of § RCW 69.50.401 are predicate drug

offenses punishable by a term of up to ten years imprisonment) ;
on soy

United States v. Davis, 932 F.2d 752, 763 (9th Cir. 1991) (‘A

 

violation of section 11351 of the California Health and Safety Code
ig punishable by imprisonment for a term exceeding one year”). Nor
does he argue that he was sentenced to less than one year in prison -
- which, in at least one case, he was not. (See CR 2.); see also id.
(Noting the “well established federal rule that a felony is an
offense punishable by a maximum term of imprisonment of more than one
year, regardless of the sentence actually imposed.”).
IV. CONCLUSION

For the foregoing reasons, the Court should construe the
petition as a successive § 2255 motion, and dismiss the petition for

lack of jurisdiction.

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CERTIFICATE OF SERVICE

I, LORETTA CHAVIS, declare:

That I am a citizen of the United States and a resident of or
employed in Los Angeles County, California; that my business address
is the Office of United States Attorney, 312 North Spring Street,
Los Angeles, California 90012; that I am over the age of 18; and
that I am not a party to the above-titled action; That I am employed
by the United States Attorney for the Central District of

California, who is a member of the Bar of the United

RESPONDENT’S MOTION TO DISMISS PETITION FOR WRIT OF HABEAS CORPUS
PURSUANT TO ‘
Service was:

[J Placed in a closed envelope Placed in a sealed envelope
for collection and inter- 4 for collection and mailing via..
office delivery, addressed as United States mail, addressed
follows: as follows:

[1] By hand delivery, addressed as LI] By facsimile, as follows:
follows: a

Ll By messenger, as follows: (] By Federal Express, as
follows:

Antonio Mendoza

Reg No. 74707-179

Federal Correctional Institution
P.O. Box 3850

Adelanto, CA 92301

PRO SE

This Certificate is executed on February 20, 2019, at Los
Angeles, California. I certify under penalty of perjury that the

foregoing is true and correct.

 

 

LORETTA CHAVIS
Legal Assistant

 

 
